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     Attorneys for Plaintiffs
17
18                       IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA
19
20   THERESA DUTCHUK, ANNALISA        Case No.: 3:19-cv-00136-HRH
     HEPPNER, LIZ ORTIZ, RANNA WELLS,
21   NORMA JOHNSON, AND JANE DOE VI
22                                    NON-OPPOSED           MOTION TO
               Plaintiffs,
                                      EXTEND DEADLINE FOR FILING
23                                    PLAINTIFFS’ THIRD AMENDED
               vs.
24                                    COMPLAINT

25   DAVID YESNER, UNIVERSITY OF
     ALASKA BOARD OF REGENTS AND
26   UNIVERSITY OF ALASKA SYSTEM,
27                 Defendants.
28

                                             1
                           NON-OPPOSED MOTION TO EXTEND DEADLINE
              Case 3:19-cv-00136-HRH   Document 72 Filed 05/04/20 Page 1 of 3
 1           NON-OPPOSED MOTION TO EXTEND DEADLINE FOR FILING
                   PLAINTIFFS’ THIRD AMENDED COMPLAINT
 2
 3          Plaintiffs, by and through counsel, move for additional time to file their Third

 4   Amended Complaint. All Defendants are unopposed to this motion. See Exhibit 1. The
 5
     current deadline for the Third Amended Complaint by Plaintiffs is May 4, 2020. This
 6
     extension will make the new deadline for a response May 8, 2020.
 7
 8          Pursuant to Local Rule 7.3(b), the reason the extension of time is necessary is due
 9   to Plaintiffs’ counsel currently experiencing significant difficulties and delays due to
10
     COVID-19. The additional time would allow Plaintiffs to adequately respond to the
11
12   Motion. All parties who have entered this case have consented to this extension. See
13   Exhibit 1.
14
15          DATED: May 4, 2020.
                                                      Respectfully submitted,
16
17                                                    By: /s/ Cornelia Brandfield-Harvey
                                                      Anthony G. Buzbee
18                                                    (Admitted Pro Hac Vice)
19                                                    Attorney in Charge
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20                                                    Federal Bar No. 22679
21                                                    Cornelia Brandfield-Harvey
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28                                                    CUSACK LAW, LLC

                                                 2
                          NON-OPPOSED MOTION TO EXTEND DEADLINE
             Case 3:19-cv-00136-HRH   Document 72 Filed 05/04/20 Page 2 of 3
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 8                                                    Tel: (713) 955-1800
 9                                                    ATTORNEYS FOR PLAINTIFFS
10
11                                   CERTIFICATE OF SERVICE
12
            I hereby certify that on May 4, 2020 I filed a true and correct copy of the foregoing
13   document with the Clerk of the Court for the United States District Court – District of
14   Alaska by using the CM/ECF system. Participants in Case No. 3:19-cv-00136-HRH who
     are registered CM/ECF users will be served by the CM/ECF system.
15
16                                                    /s/ Cornelia Brandfield-Harvey
                                                      Cornelia Brandfield-Harvey
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                          NON-OPPOSED MOTION TO EXTEND DEADLINE
             Case 3:19-cv-00136-HRH   Document 72 Filed 05/04/20 Page 3 of 3
